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THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

MANUEL SALVADOR NEGRETE
REYES, A216-370-841,

Petitioner :
V. : 3:20-CV-02169
: (JUDGE MARIANI)
WILLIAM P. BARR,
Attorney General, et al.,

Respondents

ORDER

 

AND NOW, THIS [} } | DAY OF JANUARY 2020, upon review of Magistrate
Judge Saporito’s Report and Recommendation (“R&R”) (Doc. 10) for clear error or manifest
injustice, IT IS HEREBY ORDERED THAT:
1. The R&R (Doc. 10) is ADOPTED for the reasons set forth therein.
2. The Petition for Writ of Habeas Corpus Under 28 U.S.C. § 2241 is DISMISSED AS
MOOT.

3. The Clerk of Court is directed to CLOSE this case.

 

 

Robert D. Mariani
United States District Judge
